                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF WISCONSIN


Mindy Millar
                               Plaintiff(s),

               v.                                       Case No. 18-cv-527

Granite Stoneworks, LLC
                               Defendant(s).


                CONSENT TO PROCEED BEFORE A MAGISTRATE JUDGE

This form must be filed with the Clerk of Court within 21 days of receipt. Although choosing to
have your case decided by a magistrate judge is optional and refusal will not have adverse
substantive consequences, the timely return of this completed form is mandatory.

If you do not consent to a magistrate judge deciding your case, a district judge will handle all
aspects of your case. When a case is handled by a district judge, magistrate judges in this district
play no further role in the case and do not issue reports and recommendations.

Magistrate judges do not conduct felony trials, and therefore felony trials do not interfere with
scheduling and processing of cases before magistrate judges.


Check one:

☐       The undersigned attorney of record or pro se litigant consents to have Magistrate Judge
_________________________ conduct all proceedings in this case, including a bench or jury trial, and
enter final judgment in accordance with 28 U.S.C. § 636(c) and Federal Rule of Civil Procedure 73(b).

☐✔       The undersigned attorney of record or pro se litigant refuses to have a magistrate judge enter
final judgment in this matter. I understand that this means that a district judge alone will handle all
further proceedings in this matter.

                        April           2018             s/ Scott S. Luzi
Signed this ____
            4th  day of ______________, _______.        __________________________________
             (date)             (month)        (year)   Signature of counsel of record or pro se litigant
                                                        ☐ Plaintiff / petitioner (attorney or pro se litigant)
                                                        ☐ Defendant / respondent (attorney or pro se litigant)
                                                        ☐ Other party




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                                ASSIGNMENT OF CIVIL CASES
                              EASTERN DISTRICT OF WISCONSIN

       At the time a new civil action is filed, it is assigned by random selection to either a district
judge or a magistrate judge in accordance with the local rules. Pursuant to the provisions of 28
U.S.C. §636(c) and Rule 73 of the Federal Rules of Civil Procedure, a United States Magistrate
Judge may, with the consent of the parties, conduct all proceedings in this civil action, including a
bench or jury trial and order the entry of judgment. The statute provides for direct appeal to the U.S.
Court of Appeals for the Seventh Circuit.

        Once the assigned district or magistrate judge has been selected, the local rules of this district
require that each party to the action receive a copy of the “consent form.” Each party shall complete
the form and file it with the Clerk of Court within 21 days after its receipt.

        If this case has been randomly assigned to a district judge and all parties consent to have the
magistrate judge conduct all proceedings in the case, the district judge may enter an order
transferring the case to the magistrate judge.

        If this case has been randomly assigned to a magistrate judge and not all parties consent,
then the case will be reassigned by random selection to a district judge. If all parties consent, the
magistrate judge will conduct all proceedings in the action.

        While the decision to consent or not to consent to the exercise of jurisdiction by the
magistrate judge is entirely voluntary, the duty to respond to this order is mandatory. Your response
shall be made to the Clerk of Court only on the form on the reverse side of this notice.

       IT IS THEREFORE ORDERED, that you complete this form and file it with the Clerk of
Court within twenty-one (21) days from receipt.



                                                         UNITED STATES DISTRICT COURT


                                                         s/William C. Griesbach
                                                         Honorable William C. Griesbach,
                                                         Chief Judge




                                                                                             (Rev. 08/20/2015)
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